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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF KENTUCKY
LOUISVILLE DIVISION
CASE NO. 31 l6-CV-823-TBR-LLK

 

TROY PRATHER PLAINTIFF

V.

PEDRO DAVILA, et. al. DEFENDANTS
JUDGE’S REPORT

 

Senior Judge Thomas B. Russell referred this matter to Magistrate Judge Lanny King to
conduct a settlement conference (Docket # 16). Magistrate Judge King conducted a settlement
conference on January 19, 2018. (Docket # 17). The parties and their respective counsel
attended.

Following negotiations between the Court and counsel and/or the parties, the undersigned
reports that the parties Were able to reach an amicable resolution. Counsel Will submit

appropriate settlement documents for consideration by Judge Russell.

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Lanny King, Magistrate Judge
United States District Court

c‘ Counsel January 22, 2018

p: 4.45

